 Case 1:22-mc-03696-HG-PK Document 13-10 Filed 09/28/22 Page 1 of 4 PageID #: 289
                                               Tuesday, September 27, 2022 at 13:44:20 Central Daylight Time


Subject:    RE: Yee Documents
Date:       Tuesday, April 12, 2022 at 5:40:57 PM Central Daylight Time
From:       Dimon, Anna G.
To:         Cal Mayo, Yitz Kopel
CC:         Boyle, Edward P.
AEachments: image001.png, ConﬁdenKality Agreement - Executed.pdf

Thank you, Cal. Please ﬁnd aPached the agreement executed on behalf of AC2T. We look forward to receiving
the remainder of the responsive documents.

Best,
Anna

From: Cal Mayo <cmayo@mayomallePe.com>
Sent: Tuesday, April 12, 2022 5:54 PM
To: Dimon, Anna G. <AGDimon@Venable.com>; Yitz Kopel <ykopel@bursor.com>
Cc: Boyle, Edward P. <EPBoyle@Venable.com>
Subject: Re: Yee Documents

CauFon: External Email



Counsel,

I was able to get to the agreement. Here is the ﬁnal version ready for signature. I accepted the edit and
made no other changes.

Cal

                            J. Cal Mayo, Jr.
                            Mayo Mallette
                            Oxford & Jackson Offices

                            E: cmayo@mayomallette.com
                            O: 662.236.0055 J: 601.366.1106
                            D: 662.513.4897 C: 662.801.3837
                            2094 Old Taylor Road, Suite 200 | Oxford, MS 38655
                            4400 Old Canton Road, Suite 150 | Jackson, MS 39211
                            mayomallette.com




From: Yitz Kopel <ykopel@bursor.com>
Date: Tuesday, April 12, 2022 at 10:59 AM
To: "Dimon, Anna G." <AGDimon@Venable.com>
Cc: Cal Mayo <cmayo@mayomallePe.com>, "Boyle, Edward P." <EPBoyle@Venable.com>
Subject: Re: Yee Documents

This is ﬁne.

On Mon, Apr 11, 2022 at 5:09 PM Dimon, Anna G. <AGDimon@venable.com> wrote:
                                                       "J"                                            Page 1 of 4
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On Mon, Apr 11, 2022 at 5:09 PM Dimon, Anna G. <AGDimon@venable.com> wrote:
  Hi All,

  Minor proposed edit reﬂected in the aPached in track. If this is acceptable, we will execute.

  Thank you,
  Anna

  From: Yitz Kopel <ykopel@bursor.com>
  Sent: Monday, April 4, 2022 6:25 PM
  To: Cal Mayo <cmayo@mayomallePe.com>
  Cc: Dimon, Anna G. <AGDimon@Venable.com>; Boyle, Edward P. <EPBoyle@Venable.com>
  Subject: Re: Yee Documents

  CauFon: External Email



  Alright, your proposal looks ﬁne to me.

  On Mon, Apr 4, 2022 at 6:23 PM Cal Mayo <cmayo@mayomallePe.com> wrote:
     Yitz,

     Dr. Yee will not consent to the jurisdicKon of the New York court for purposes of the subpoena, the
     document producKon, or the deposiKon.

     Cal

     J. Cal Mayo, Jr.
     Mayo MalleEe
     Oxford and Jackson Oﬃces

     E: cmayo@mayomallePe.com
     O: 662.236.0055 J: 601.366.1106
     D: 662.513.4897 C: 662.801.3837
     2094 Old Taylor Road, Suite 200 | Oxford, MS 38655
     4400 Old Canton Road, Suite 150 | Jackson, MS 39211
     mayomallePe.com


             On Apr 4, 2022, at 4:50 PM, Yitz Kopel <ykopel@bursor.com> wrote:

             Cal - there's already a protecKve order in place in this acKon. Any reason you can't
             designate the docs under this?

             On Fri, Apr 1, 2022 at 3:45 PM Cal Mayo <cmayo@mayomallePe.com> wrote:




                                                                                                           Page 2 of 4
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           Anna and Yitz,

           APached is a conﬁdenKality agreement for the Yee documents and deposiKon. Please let
           me know if you have any comments. Otherwise, please return the document with your
           signatures. I will then sign and date the agreement and provide you a copy with all
           signatures. I will also produce the remaining documents.

           Have a good weekend.

           Cal




         J. Cal Mayo, Jr.
         Mayo Mallette
         Oxford & Jackson Offices

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         O: 662.236.0055 J: 601.366.1106
         D: 662.513.4897 C: 662.801.3837
         2094 Old Taylor Road, Suite 200 | Oxford, MS 38655
         4400 Old Canton Road, Suite 150 | Jackson, MS 39211
         mayomallette.com




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  Yitz Kopel
  Bursor & Fisher, P.A.
  888 Seventh Ave.
  New York, NY 10019
  646-837-7127 (tel)
  212-989-9163 (fax)
  ykopel@bursor.com
  www.bursor.com

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  Yitz Kopel
  Bursor & Fisher, P.A.
  888 Seventh Ave.
  New York, NY 10019
  646-837-7127 (tel)
  212-989-9163 (fax)
  ykopel@bursor.com
  www.bursor.com

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Yitz Kopel
Bursor & Fisher, P.A.
888 Seventh Ave.
New York, NY 10019
646-837-7127 (tel)
212-989-9163 (fax)
ykopel@bursor.com
www.bursor.com

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